Case 2:11-cr-20693-AC-MKM ECF No. 44, PageID.152 Filed 10/20/14 Page 1 of 20




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                          CASE NUMBER: 2:11-cr-20693

  vs.                                             HON. GERALD E. ROSEN


ANNETTA POWELL,

           Defendant.
______________________________/


               SENTENCING MEMORANDUM FOR DEFENDANT,
                          ANNETTA POWELL

        NOW COMES Defendant, ANNETTA POWELL, by and through her counsel

JAMES C. THOMAS, and files the following Sentencing Memorandum setting forth all

factors that this Honorable Court should consider in determining the type and length of

sentence for Annetta Powell (“Ms. Powell”).


                                      BACKGROUND

        Ms. Powell was charged in a 12-Count Indictment which alleged conspiracy to

commit fraud, in violation of 18 USC §§1349, 1343, 1344 and 2. Ms. Powell has pled

guilty to one count of the 12-Count Indictment, bank fraud conspiracy, in violation of 18

USC §§ 1349, 1344 pursuant to a Rule 11 Plea Agreement (Docket #37), which provides

for recommended guidelines sentencing range of 33 to 41 months. There is no agreement

as to fine.
                                              1
Case 2:11-cr-20693-AC-MKM ECF No. 44, PageID.153 Filed 10/20/14 Page 2 of 20




                    SENTENCING METHODOLOGY AND ISSUES

       The United States Supreme Court has made clear that the Federal Sentencing

Guidelines (“guidelines”) are now to be considered as advisory only. See United States v.

Booker, 543 U.S. 220 (2005); United States v. Michael, 576 F.3d 323 (6th Cir. 2009).

The Sixth Circuit has recognized that Booker “breathe[d] life into the authority of the

district court judges to engage in individualized sentencing.” United States v. Vonner,

516 F.3d 382, 392 (6th Cir. 2008) (en banc). The term “advisory” no longer requires a

slavish application of the guidelines under the guise of “fair consideration”. United States

v. Jaber, 362 F.Supp.2d 365 (D. Mass. 2005). Before imposing a sentence, a district

court should begin by calculating the applicable guidelines range. Gall v. United States,

552 U.S. 38, 39 (2007). Next, the district court must also consider factors enumerated in

18 U.S.C. § 3553(a) in order to impose a sentence that is “sufficient, but not greater than

necessary” to achieve the purposes set forth in 18 U.S.C. § 3553(a)(2). Id., at 50, fn6.

See also United States v. Foreman, 436 F.3d 638 n.1 (6th Cir. 2006) abrogated on other

grounds by United States v. Young, 580 F.3d 373 (6th Cir. 2009). Those statutory

purposes are:

       (2)      the need for the sentence imposed—

                      (A) to reflect the seriousness of the offense, to promote respect for
                           the law, and to provide just punishment for the offense;
                      (B) to afford adequate deterrence to criminal conduct;
                      (C) to protect the public from further crimes of the defendant;
                      (D) to provide the defendant with needed educational or vocational
                           training, medical care, or other correctional treatment in the
                           most effective manner.


                                             2
Case 2:11-cr-20693-AC-MKM ECF No. 44, PageID.154 Filed 10/20/14 Page 3 of 20




18 U.S.C. § 3553(a)(2).       As some courts have explained, these purposes are in

consideration of retribution, deterrence, incapacitation and rehabilitation. See United

States v. Presley, 547 F.3d 625 (6th Cir. 2008); United States v. Denardi, 892 F.2d 269,

276 (3rd Cir. 1989).     To achieve the goals of sentencing, the court must therefore

consider the seven factors outlined in 18 U.S.C. § 3553(a). United States v. Webb, 403

F.3d 373, 385 n.8 (6th Cir. 2005).

       It is essential to approach the sentencing of an individual, first recognizing that the

guidelines are no longer to be presumed reasonable. Nelson v. United States, 555 U.S.

350, 352 (2009) (per curiam); See also Webb, 403 F.3d at 385 n. 9 ("[W[e also decline to

hold that a sentence within a proper Guidelines range is per-se reasonable. Such a per-se

test ... would effectively re-institute mandatory adherence to the Guidelines.”).

       Sentences must be both procedurally and substantively reasonable, and courts

have distinguished between the two. United States v. Poynter, 495 F.3d 349, 351 (6th

Cir. 2007). For a sentence to be procedurally reasonable, when a defendant raises non-

frivolous arguments in seeking a lower sentence, “the record must reflect both that the

district judge considered the defendant’s argument and that the judge explained the basis

for rejecting it.” United States v. Recla, 560 F.3d 539, 547 (6th Cir. 2009) (citing Rita).

To be substantively reasonable, the sentence must be “proportionate to the seriousness of

the circumstances of the offense and offender, and sufficient but not greater than

necessary, to comply with the purposes of § 3553(a).” United States v. Vowell, 516 F.3d

503, 512 (6th Cir. 2008) (internal quotations omitted).


                                              3
Case 2:11-cr-20693-AC-MKM ECF No. 44, PageID.155 Filed 10/20/14 Page 4 of 20




         When applying the aforementioned factors to Ms. Powell, the Court “must make

an individualized assessment based on the facts presented” by the case without giving

presumptive weight to the guidelines sentencing range. Gall, supra at 48-49. See also

Koon v. United States, 518 U.S. 81, 113 (1996) (stating every convicted person should be

considered as an individual and every case considered as a unique study in human

failings).   Judges are encouraged to consider all relevant facts to avoid sentencing

disparities while maintaining flexibility sufficient to individualize sentences where

necessary. Apprendi v. New Jersey, 530 U.S. 466, 490 (2000). Ms. Powell’s case is one

that warrants attention to her personal characteristics and flexibility by this Honorable

Court.

I. RULE 11 PLEA AGREEMENT

         On February 18, 2014, Ms. Powell pled guilty pursuant to a Rule 11 Plea

Agreement to count one of the Indictment. The agreed upon sentencing guideline range is

33 to 41 months. This was based upon a stipulation to a total offense level of 20 and a

criminal history category of I. As reflected below, Probation has a different calculation

resulting in guidelines of 41 to 51 months. We do not agree with Probation and submit

that the amount agreed to in the Rule 11 Plea Agreement is the controlling amount of loss

and further amounts are not readily provable (see below).

II. COMPUTATION OF THE GUIDELINES AND PSIR OBJECTIONS

         Ms. Powell’s base offense level is 7. Pursuant to U.S.S.G. § 2K1.1(b)(1)(B), her

base level offense level was increased by 16 points because the offense involved more

than one million dollars. Ms. Powell received a total of a three-point deduction for her
                                              4
Case 2:11-cr-20693-AC-MKM ECF No. 44, PageID.156 Filed 10/20/14 Page 5 of 20




acceptance of responsibility. As a result, her total offense level is 20. Given her lack of a

criminal record, she has a criminal history score of I. On September 30, 2014, Counsel

met with the Government in an effort to resolve issues relating to the amount of loss.

Counsel agrees with the calculation provided in the Rule 11 Plea Agreement. It is

believed that the Government does as well.

        Counsel objects to Page 5, paragraph 14 of the PSIR and all subsequent parts of

the PSIR which are impacted by the addition of relevant conduct beyond what was agreed

to by the parties in the Rule 11 Plea Agreement. Ms. Powell objects to the increased loss

amount, restitution amount, and guidelines range as a result of Probation adding relevant

conduct in the guideline calculation. Ms. Powell takes exception, in large part, to

paragraphs 13 and 14, page 5 of the PSIR wherein the victims and amounts of loss are

calculated. Table A, below, specifies the amount of loss per bank as estimated in the

PSIR.

                         Table A: PSIR Loss Calculations
Bank                         Loss Amount

Citizens/Charter One                         $584,886.89


Flagstar                                      $78,488.61                   $95,361.39
Fifth Third                                $1,429,991.21

Taylor, Bean, Whitaker                       $100,096.07


Washington Mutual                            $164,425.00


Wachovia                                     $102,630.16

American Sterling                             $97,500.00


                                           $2,653,379.33

                                              5
        Case 2:11-cr-20693-AC-MKM ECF No. 44, PageID.157 Filed 10/20/14 Page 6 of 20




            The Rule 11 is bereft of any specificity regarding how the loss computations for each

        of the banks figures were tallied. Accordingly, counsel has endeavored to provide

        materials that present a clearer picture about the houses in question in Indictment, the

        money expended in repairing the homes and what happened to the houses subsequent to

        Ms. Powell. Table B specifies the loans in this matter and the total amount of the

        mortgages from these properties.


                      Table B: All homes with mortgages from the Indictment
Count       Address               Borrower                  Bank                 Sale Price

2           6100 Greenview        Jason Remner              Flagstar                            $95,000.00

3           13947 Westwood        Jason Remner              Citizens                            $74,000.00

4           8234 Warwick          Jason Remner              Fifth Third                         $82,000.00

5           19339 Syracuse        Arthur Smith              Citizens                            $77,000.00

6           20101 Griggs          Arthur Smith              Fifth Third                         $65,000.00

7           15309 Glenwood        Arthur Smith              Washington Mutual                   $75,000.00

8           20275 Westphalia      Arthur Smith              Flagstar                            $88,000.00

9           20576 Vaughn          Matthew Hinderman         American Sterling                  $130,000.00

10          15750 Lindsay         Matthew Hinderman         Wachovia                           $138,000.00

11          18271 St. Mary's      Marilyn Figuero           Washington Mutual                   $94,750.00

12          17557 Indiana         Marilyn Figuero           Taylor, Bean and                   $100,096.07
                                                            Whitaker

                                                            Total                             $1,018,846.07



              Particularly striking is the amount of loss estimated by Fifth Third Bank compared

        to the allegations set forth in the Indictment. The amount of loss it claims (almost $1.5

        million) is greater than the sum total of all of the mortgages discussed in the Indictment.


                                                      6
    Case 2:11-cr-20693-AC-MKM ECF No. 44, PageID.158 Filed 10/20/14 Page 7 of 20




    It is unclear how Fifth Third came to this estimation. Table C, below, illustrates the

    properties that involved Fifth Third mortgages.


Table C: The homes with mortgages from Fifth Third Bank Mortgage from the Indictment
     Address        Borrower         Bank              Sale Price         Amount Seller    Loan Amount
                                                                          Purchased

4    8234 Warwick Jason Remner       Fifth Third             $82,000.00       $42,900.00        $77,900.00

6    20101 Griggs   Arthur Smith     Fifth Third             $65,000.00       $35,000.00        $61,750.00

                                     Totals                 $147,000.00       $77,900.00       $139,650.00



          Additionally, each property had been subsequently sold after foreclosure. The

    amount the properties were sold for also minimizes the loss exposure for each of the

    banks as demonstrated in Table D below. These amounts were not addressed in the PSIR.




                                                   7
                     Table D: All properties with foreclosure sale prices
       Case 2:11-cr-20693-AC-MKM ECF No. 44, PageID.159 Filed 10/20/14 Page 8 of 20
Coun    Address       Borrower          Bank            Sale Price          Foreclosure       Difference
t                                                                           Sale Price

2       6100          Jason Remner      Flagstar              $95,000.00         $95,519.00           -$519.00
        Greenview

3       13947         Jason Remner      Citizens              $74,000.00         $73,928.29                $71.71
        Westwood

4       8234          Jason Remner      Fifth Third           $82,000.00         $88,519.59          -$6,519.59
        Warwick

5       19339         Arthur Smith      Citizens              $77,000.00         $65700.00          $11,300.00
        Syracuse

6       20101 Griggs Arthur Smith       Fifth Third           $65,000.00         $52,000.00         $13,000.00

7       15309         Arthur Smith      Washington            $75,000.00         $81084.66           -$6,084.66
        Glenwood                        Mutual

8       20275         Arthur Smith      Flagstar              $88,000.00         $90,569.23          -$2,569.23
        Westphalia

9       20576         Matthew           American             $130,000.00         $20,000.00        $110,000.00
        Vaughn        Hinderman         Sterling Bank

10      15750         Matthew           Wachovia             $138,000.00        $103723.13          $34,276.87
        Lindsay       Hinderman

11      18271 St.     Marilyn Figuero   Not in                $94,750.00 N/A
        Mary's                          foreclosure

12      17557         Marilyn Figuero   Not in               $100,096.07 N/A
        Indiana                         foreclosure

                                                            $1,018,846.07       $671,043.90        $347,802.17



             Last, an additional consideration not factored into the amount of loss is the amount

       of money invested by Ms. Powell into the homes in question. According to the

       accounting data, for the mortgages in question for 2003, $320,000 was invested into the

       houses for renovations, improvements and upkeep. By way of example, on the two Fifth

       Third mortgages alone, $45,048.16 was invested in the 8234 Warwick address and

       $23,088.66 was invested in the 20101 Griggs address (see Table E). This amount must

       also be factored in when weighing the amount of loss on the properties.




                                                        8
Case 2:11-cr-20693-AC-MKM ECF No. 44, PageID.160 Filed 10/20/14 Page 9 of 20



                                Table E: Money Invested in Properties

                       6100 Greenview                           $83,066.96

                       13947 Westwood                           $24,884.16

                       8234 Warwick                             $45,048.16

                       19339 Syracuse                           $31,866.11

                       20101 Griggs                             $23,088.66

                       15309 Glenwood                           $30,846.80

                       20275 Westphalia                         $81,342.36

                       Total:                                 $320,143.21



When taking these calculations into account, the correct guidelines range is that reflected

in the Rule 11 Plea Agreement.


III. VARIANCE FROM ADVISORY GUIDELINES

       Until 2005, a defendant was precluded from arguing a variance outside the express

terms of a Rule 11 Plea Agreement. United States v. Williams, 510 F.3d 416, 435 (3rd.

Cir. 2007). That is not true today. The district court has an independent obligation to

exercise its discretion to find an appropriate sentence. Freeman v. United States, 131 U.S.

2685 (2011); United States v. Abram, 440 F. Appx. 470, 473 (6th Cir. 2011)

(unpublished). Ms. Powell is requesting a downward variance from the sentencing

guidelines range.

       Counsel submits that a lengthy custodial sentence, under the particular facts and

circumstances of this case, is greater than necessary to achieve the stated goals of

sentencing. In 2003 Justice Anthony Kennedy stated, “Our resources are misspent, our

punishments too severe; our sentences too long . . . the sentencing guidelines are

                                                 9
Case 2:11-cr-20693-AC-MKM ECF No. 44, PageID.161 Filed 10/20/14 Page 10 of 20




responsible in part for the increased terms [and they] should be revised downward.”1

Ten years later, United States Attorney General Eric Holder echoed Justice Kennedy in

his own speech to the ABA, saying “too many Americans go to too many prisons for far

too long, and for no truly good law enforcement reason. . . . .”2

       Ms. Powell’s circumstance is one that warrants the discretion of this Honorable

Court for the reasons outlined below.


       A. Ms. Powell’s Lack of Criminal History Justifies a Downward Variance

       Ms. Powell has no prior contact with the criminal justice system. Ms. Powell is

thirty-eight years old and the relevant conduct in this matter occurred in her early and

mid twenties. Decisions in this circuit have determined that lack of a criminal history is

relevant when granting a downward variance. United States v. Duane, 533 F.3d 441 (6th

Cir. 2008) ([T]he district court did not respond to Duane’s first argument — that he

deserved a more lenient sentence because he had zero criminal history points. This was

not a particularly strong argument given that Duane’s criminal history category was taken

into account in determining his Guidelines range. But the argument was not completely

frivolous. Because Duane had zero points at age 57, it was determined that he might

plausibly argue that even category I — which applies when a defendant has zero or one

criminal history point(s) — overstated his criminal history to some degree.”).




1 http://www.abanow.org/2003/08/speech-by-justice-anthony-kennedy-at-aba-annual-
meeting/
2 http://www.justice.gov/iso/opa/ag/speeches/2013/ag-speech-130812.html
                                             10
Case 2:11-cr-20693-AC-MKM ECF No. 44, PageID.162 Filed 10/20/14 Page 11 of 20




       Not only does Ms. Powell have a criminal history category of I, but she has no

criminal history whatsoever. She is thirty eight years old, and this court may take that

into account. United States v. Germosen, 473 F.Supp.2d 221, 227 (D.Mass. 2007) (in

conspiracy to import heroin by swallowing pellets, below guideline sentence of 6 months

home detention warranted in part because first offense and “ there is a demonstrable

difference in the recidivism rates of real first offenders as compared to other defendants

in Criminal History Category I.”) See also United States v. Collington, 461 F.3d 805 (6th

Cir. 2006). Finally, Congress stressed in the duties of the Commission to “insure that the

guidelines reflect the general appropriateness of imposing a sentence other than

imprisonment in cases in which the defendant is a first offender who has not been

convicted of a crime of violence or an otherwise serious offense…”. 28 U.S.C. §944(j).


       B. Ms. Powell Has an Excellent Employment History and Has Been a
       Productive Citizen since the Relevant Conduct

       Ms. Powell has been gainfully employed since she was a teenager. Even through

this matter, she has remained employed. This is relevant not only to her ability to pay

restitution, which most surely would be ordered, but in granting a downward variance.

United States v. Ruff, 535 F.3d 999 (9th Cir. 2008) ( Defendant pled guilty to embezzling

$650,000 from non-profit organization over course of three years, and with guidelines 30-

37 months, sentence of one day in jail and supervised release for three years on condition

the defendant spend one year in community treatment center to go to work and obtain

counseling was held not unreasonable in part because of defendant’s “history of strong

employment”); United States v. Fuson, (6th Cir. Feb. 8, 2007), (unpublished) 2007 WL
                                             11
Case 2:11-cr-20693-AC-MKM ECF No. 44, PageID.163 Filed 10/20/14 Page 12 of 20




414265 (Defendant convicted of felon in possession of firearm and guidelines 24-30

months. The court’s sentence of probation and six (6) months home confinement was

held reasonable in part because client’s record since a relatively minor felony conviction

was unblemished for the past seven years and client’s was “working and supporting his

family”).

       Additionally, over eleven years has passed since the offense occurred, and Ms.

Powell has led a law-abiding life as a productive citizen. United States v. Edwards, 595

F.3d 1004 (9th Cir. 2010) (Defendant was convicted of bankruptcy fraud, and it was

proper for judge to consider that “by the time of the 2008 re-sentencing, the offenses had

been committed nine years previously and that Edwards had left the stress of his earlier

job in the construction business that led him to become involved in the financial fraud

scheme, and completed without incident three and one half years of probation.”). Ms.

Powell has continued to rebuild her life over the past eleven years. Letters in support of

her show her contributions to family, friends, and the community.


       C. Ms. Powell’s Family Support Warrant a Downward Variance

       Ms. Powell has the support of her family, and evidence suggests familial support

is a factor in lower recidivism. See Shirley R. Klein et al., Inmate Family Functioning,

46 Int’l J. Offender Therapy & Comp. Criminology 95, 99-100 (2002) (“The relationship

between family ties and lower recidivism has been consistent across study populations,

different periods, and different methodological procedures.”). As reflected in the

attached letters, Ms. Powell’s friends, employees and family are supporting her

                                            12
Case 2:11-cr-20693-AC-MKM ECF No. 44, PageID.164 Filed 10/20/14 Page 13 of 20




throughout this difficult period in her life. It is with this support that she has been able to

continue working and rebuilding her life. Not only does she have the support of her

family, but she is critical in supporting her immediate and extended family. She has held

a pivotal role in her family since the age of five. She gives without being asked and gives

of herself freely to others.

       Counsel submits the Court should grant a downward variance for the reasons

stated above and after application of the relevant sentencing factors.



IV. APPLICATION OF THE 18 U.S.C. § 3553(a) FACTORS

18 USC § 3553(a)(1): Nature and Circumstances of the Offense and Ms. Powell’s
History and Characteristics


       The rigidity of the once mandatory guidelines made it easy for fashioning a

sentence to be a matter of mechanics. However, post Booker supra, the guidelines are

only one of many factors to be considered. District Courts have “increasingly recognized

the importance of departure by reason of offender characteristics for the fair fulfillment

of the sentencing scheme prescribed by the Sentencing Reform Act and the Sentencing

Guidelines.” See United States v. Restrepo, 999 F.2d 640, 643 (2nd Cir. 1993) (quoting

United States v. Merritt, 988 F.2d 1298, 1302 (2nd Cir.), cert. denied, 124 L.Ed.2d 683

(1993).

       Ms. Powell, daughter to Joyce and Abram Powell, was raised in the inner city of

Detroit, Michigan. Ms. Powell’s parents can neither hear nor speak. At a very early age

she learned American Sign Language, and Ms. Powell assumed the role of helping them
                                              13
Case 2:11-cr-20693-AC-MKM ECF No. 44, PageID.165 Filed 10/20/14 Page 14 of 20




communicate with others. She continues to do so to this day. She grew up, as she

relates, “poor”, but that did not stop her from helping others. As you will see from her

own letter to the Court, as well as other letters submitted to the Court on behalf of Ms.

Powell, this is a very highly-motivated woman who has come from humble beginnings.

       Ms. Powell’s childhood was less than ideal. Children at school picked on her for

being poor and vulnerable. These struggles made her determined to help herself out of

the poverty of her childhood and be successful. Some say, along with this determination,

Ms. Powell developed a fear of poverty itself. She graduated from high school and

immediately began working at Johnson Controls. Working for someone else lit an

entrepreneurial spirit in Ms. Powell. Hoping to work for herself one day, Ms. Powell put

herself through college and earned a degree in Business Management.

       When she was 23 years old, Ms. Powell fulfilled her dream and became an

independent businesswoman. She left Johnson Controls and started her first business,

selling clothing purchased in New York to customers in Detroit. To begin the business,

she borrowed money from her parents and sold clothing from the trunk of her car. She

was proud when she was able to not only pay back the money borrowed, but also paid

them interest on the loan. After the clothing resale business, Ms. Powell opened up a

restaurant with her then boyfriend. Sadly, this individual was physically and emotionally

abusive to her. Although the restaurant began to make money, unfortunately,

neighborhood thugs robbed her several times at gunpoint. She decided to change her life

by leaving that business and her boyfriend for obvious reasons. That is when she

discovered the real estate industry.
                                             14
Case 2:11-cr-20693-AC-MKM ECF No. 44, PageID.166 Filed 10/20/14 Page 15 of 20




       Ms. Powell was 25 years old when she learned how to “flip” a house. Believing

that this was a viable business opportunity, she researched distressed properties in Detroit

and how to renovate them. Her goal was to purchase distressed homes, renovate them

and sell them for a profit. Her plan was to find individuals, who would be interested in

buying homes, locate distressed properties and then sell them the homes. She decided

that she would aggressively market this plan as investment opportunities. Business was a

success. Ms. Powell rented an office, advertised in the newspaper and focused on her

business.

       Ms. Powell learned early on that there was a market for what she was selling. She

found people eager to invest in properties in Detroit. She used startup capital to renovate

the homes so that they would look like new. She found people interested in buying the

homes and, interestingly, also found tenants to rent the properties from the owners. As

part of her marketing plan, she offered seminars on how to be a landlord and also

published literature on how to successfully rent properties and provided it to interested

people.

       Unfortunately for Ms. Powell, the housing market, especially in Detroit, began to

take a dramatic turn in 2006 and 2007. Ms. Powell’s ambitions continued to grow and

she adopted a plan to provide financial incentives to investors to encourage them to

purchase rehabilitated homes through her. This plan, and the ultimate downturn in the

economy, led her to commit the acts for which she was indicted and has embraced in her

letter to the Court.

       In her own words, Ms. Powell has stated that she has moved on and completely
                                             15
Case 2:11-cr-20693-AC-MKM ECF No. 44, PageID.167 Filed 10/20/14 Page 16 of 20




changed her life from the events that took place years ago. She has learned from her

mistakes and “realized that wealth isn’t always about the bottom line.” Ms. Powell grew

up in inner city Detroit, a child of poverty. She was also a direct victim of domestic

violence. Although she has tirelessly worked to and succeeded in lifting herself from

these conditions, the events of her life shaped her as a person and can be considered when

the court is determining her sentence. See United States v. Lopez, 938 F.2d 1293, 1297-

99 (D.C.Cir. 1991) (where defendant received 51 months in cocaine case, case remanded

for district court to consider departure because defendant, among other things, was

exposed to domestic violence and grew up in the slum areas of New York and of Puerto

Rico); see also United States v. Genao, 831 F.Supp. 246, 254 (S.D.N.Y.1993)(“Can we

really say we have a rational system of justice when the court, in imposing sentence, is

stripped of the power to even consider the socio-economic and educational background of

the defendant”); Griffin v. Illinois, 351 U.S. 12, 23 (1956) (Frankfurter, J., concurring,

quoting Anatole France)(“The law, in its majestic equality, forbids the rich as well as the

poor to sleep under bridges, to beg in the streets, and to steal bread.”).

18 USC § 3553(a)(2)(A): The Requirement that the Sentence Imposed Reflect the
Seriousness of the Offense, Promote Respect for the Law, and Provide Just
Punishment for the Offense

       The defendant’s degree of remorse may be considered in a downward variance

from the guidelines range under the statutory sentencing factors. United States v. Howe,

543 F.3d 128, 130 (3d Cir. 2008); See also, United States v. Jaroszenko, 92 F.3d 486, 488

(7th Cir. 1996). Ms. Powell understands the seriousness of her offense and has expressed

remorse for her decision to engage in the conduct related to this offense. As reflected in
                                              16
Case 2:11-cr-20693-AC-MKM ECF No. 44, PageID.168 Filed 10/20/14 Page 17 of 20




the letters of support of Ms. Powell, she has acknowledged her wrongdoing to those

around her and has expressed deep remorse. Moreover, she has expressed a fervent

personal goal to better herself as a person and businesswoman.

       It is well known that a felony conviction wreaks havoc on a person’s life. United

States v, Wulff, 758 F.2d 1121, 1125 (6th Cir. 1985) (“a felony conviction irreparably

damages one’s reputation.”) See generally United States v. Leon, 341 F.3d 928, 929 (9th

Cir. 2003); United States v. Aguirre, 214 F.3d 1122, 1123 (9th Cir. 2000). The collateral

consequences of Ms. Powell’s conduct, and resulting guilty plea, to a large extent reflect

the seriousness of the offense and provide punishment. A lengthy term of incarceration is

not necessary.

18 USC § 3553(a)(2)(B): Deter Criminal Conduct

       Ms. Powell has never served a period of incarceration, and has no criminal history

whatsoever. The conduct at subject in this matter occurred between the years 2000 to

2003. Since that time, Ms. Powell has maintained employment and has been a productive

law-abiding citizen. It is appropriate for a sentencing court to vary from the guidelines

based upon evidence of a substantial likelihood that a defendant will successfully

overcome the cause of the criminal behavior being punished. See United States v. Davis,

763 F.Supp. 645, 652 (D.C. Cir. 1991). In Ms. Powell’s case, she has already proven her

ability to move on from the offending conduct and lead a productive life without

imposition of punishment.




                                            17
Case 2:11-cr-20693-AC-MKM ECF No. 44, PageID.169 Filed 10/20/14 Page 18 of 20




18 USC § 3553(a)(2)(C): Protect the Public From Further Crimes of the Defendant

       Post Booker and FanFan cases have reiterated that incarceration is not always

necessary to protect the public. See United States v. Edwards 595 F.3d 1004 (9th Cir.

2010); Unite States v. Baker, 502 F.3d 465 (6th Cir. 2007); Unites States v. Stall, 581

F.3d 276 (6th Cir. 2009) (where variances that did not provide for incarceration were held

not to be unreasonable). As stated above, Ms. Powell has no history of violence, no

criminal history, and no contact whatsoever with the criminal justice system prior to this

matter.

18 USC § 3553(a)(2)(D): Provide the Defendant with Needed Educational or
Vocational Training, Medical Care or Other Correctional Treatment in the Most
Effective Manner

       Ms. Powell is an educated woman with no health issues and a strong employment

record. She has no issues regarding substance abuse.


18 USC § 3553(a)(3) and (4): Kinds of Sentences Available and the Sentencing
Range Established By the Federal Sentencing Guidelines

       The advisory guidelines range is 33 - 41 months.

18 USC § 3553(a)(5): Any Pertinent Policy Statement Issued by the Sentencing
Commission

       There are no pertinent policy statements.

18 USC § 3553(a)(6): The Need to Avoid Unwarranted Sentence Disparities Among
Defendants with Similar Records Who Have Been Found Guilty of Similar Conduct

       There is no concern for unwarranted sentencing disparities. Ms. Powell was

charged with her sister who is awaiting trial, and Charles Wadowski who pled guilty to

Count 1 of the Indictment. However, Mr. Wadowski died before sentencing.
                                            18
Case 2:11-cr-20693-AC-MKM ECF No. 44, PageID.170 Filed 10/20/14 Page 19 of 20




18 USC § 3553(a)(7): The Need to Provide Restitution to Any Victims

       As outlined above, restitution has been stipulated in this matter.      It is in the

Court’s discretion to fashion a sentence for Ms. Powell that will enable her to continue

working and pay towards her restitution obligation. United States v. Edwards, 595 F.3d

1004 (9th Cir. 2010) (Defendant was convicted of bankruptcy fraud and on probation for

prior state conviction for fraud with guidelines range 27-33 months.          Sentence of

probation seven months of which was to be served under house arrest, and $5,000 fine,

and restitution of $100,000 not abuse of discretion in part because “the district judge

recognized that restitution serves as a deterrent, and that [t]he term of probation imposed

will enable [Edwards] to continue working in order to pay the significant amount of

restitution he ow[e]s.”); See also United States v. Coleman, 370 F.Supp.2d 661

(S.D.Ohio 2005).

       Ms. Powell is an extremely hardworking woman with a degree, marketable skills,

and a strong history of self-employment. Ms. Powell is in a much better position to pay

restitution if able to continue to work without disruption.




                                             19
Case 2:11-cr-20693-AC-MKM ECF No. 44, PageID.171 Filed 10/20/14 Page 20 of 20




IV.    CONCLUSION

       Given the foregoing facts and circumstances, defense counsel requests this

Honorable Court to vary downward from the guidelines and fashion a sentence for

Annetta Powell that is sufficient, but not greater than necessary to satisfy the

requirements of 18 USC § 3553(a).




                                           Respectfully Submitted,

                                           O'REILLY RANCILIO P.C.

                                           By: /S/ James C. Thomas
                                           James C. Thomas P23801
                                           Counsel for Defendant, Annetta Powell
                                           12900 Hall Road, Suite 350
                                           Sterling Heights, MI 48313
                                           jthomas@orlaw.com




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